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                   Exhibit M
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                         (Mullirurrcflc)'-Cro$.s Bordc.r)




                                                   MASTER AGREE1\t1ENT
                                                                                      03ledas or
                                                                                 �Cr'hber   6, 20 l 3
                                                                                        be1wecn
                           GOLDMAN S,\CHS INHRi'iATIO!'iAL                                  and            ARCHEGOS F'UNO, LP


                         ht1vc 11:ntcrod .111d/\lr cm;icip.stc: cnit:l°inS, into 'ilnC' or in.or(: iu:uneti:oni (e,1ch =t ••Trans�c,ion P'I ) th:u :are o, wi I
                         be govtrncd by this M�s,cr Aincmenl, wliich inc:lucc� the s,hcdulc (rite "Schedule�), and the documenl$
                         11nd ot�cr -confirming c�idc11,:c (cneh a "Confrrrn,,tion·') �xchauged becweeu the parties conflrn'ling th�e
                         Transactions..

                         A::cordinsly, the pU'litn ;,grce as follows:-




                                                                                                                                                       GOVERNMENT
                                                                                                                                                         EXHIBIT
                                                                                                                                                           311
                                                                                                                                                           22 Cr. 240 {AKI-I)




Grand Jury Material: Confidential Pursuant to Fed. R. Crim. P. 6{E)                                                                            GS-ARCHEGOS-SDNY-00000019
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                  Part 3. Agreement to DeU"er Documents




                 ( b)      F0 r l h e DUl'l)l)Se Cl fSecllon   Q   11 eac party 1u1ces m d c rwcr lh c: �o II OWlnJl d ,x:ument6, a& a1001'1ca1
                                                                                                                                              ll c:


                 Party requind to               Fonn/Docunent/                       Dale by which                       Covered by Section
                 deliver document               Certificate                          t.o be delil'ered                   3{d) Reoresentlltion
                 GS! and Counterpart)'          Evidence rearonably                  Upon or promptly following                      Yes
                                                :-.alisfactory 10 the other          execution of this Aglicement
                                                party of the signing                 and 1herc.if1er promptly
                                                authority and sp«im::n               rc1lk1wing requc.•t
                                                signalure 11f any individual
                                                cxt1:uting this Agreement.
                                                any Credit Suppon
                                                Dncumenl and any
                                               Conrinnariun on i1� behalf

                 GSI and Counter-pa.rt)·       Any Credit Support                    J>romptly following                             No
                                               Documenl specified in P-clJ't         C-'Cl:Ution of this Agreement
                                               4(f) herein




                1GSI l'romt of Ho.lie F,nd SchcdulcfNY I.a"': 1July2011l




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                  Party required to                Fora'Doc.vment/                Dalebywbldl                 COYeredbySedJDn
                  d!her document                   c.ertlftale                    lo be delnered              3(d) Jlelftlffltatloa
                      OSI                          Mosl recent annualaudi1cd      Promplly following                    Yes
                                                   public financial s111emcnt\    �asonable demand by
                                                   of GS l's Credi! SuJll(>rt     Countcrparty
                                                   Provider

                 Counrerparly                      Annual and semi-annual         Promptly following                    Yes
                                                   financial stalement\ or        reasonable demand by OSI
                                                   Counrerparly

                 Counlerparty                      Resolutions or other           Uponuecu1ion oflhis                   v�
                                                   documents evidencing           Agrecmenl
                                                   awhority 10 enter into this
                                                   Agreemenl and
                                                   Transactions hereunder

                 Countaparty                      Monthly wrinen stalement        Witha'I IO alendar days               Yes
                                                  of Net Assel Value and          Imm each monlh end, and a
                                                  performance dara                F')d-faich oral eslimate
                                                                                  within 24 hours following
                                                                                  re(flesl by GSI

                 Counlcrparty                     lnvestmcnl management           Upon reciuest by GSI                  Yes
                                                  agrccmcnl

                 OSI and Counterparty             Any other information           Upon reciues1                         Yes
                                                  reasonably requeSICd by the
                                                  other parry




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                (<iSI f'or,n ol tlcd1Je Fund .SCbcdulc (NY l..&w)(hll:,,2012)

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